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FILE> By ____ _ no

UNITED STATESDISTRICT COURT OSAUG ,5 P ,

WESTERN DISTRICT oF TENNESSEE " 2" oh
WESTERNDIV;ISIoN ’HO*
MELANIE ROGERS JUDGMENT IN A CIVIL CASE

VS

RETAIL VENTURES , LLC and
LIFESTYLE VENTURES, LLC. CASE NO: 03-2831 Ml/V

 

All matters in controversy having been resolved by the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the
Stipulation of Dismissal With Prejudice filed August 9, 2005, this
case is DISMISSED with prejudice with each party to bear its own
costs and attorneys' fees.

APPROVED :

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JO PHIPPS MCCALLA
TED STATES DISTRICT COURT

M\_ /\;2@05 THoMAs M.Goum
DatU Clerk of Court

(By) fDeputjé Clerk d

 

 

Th|s document entered on the docket sheet in compliance
with eula 58 and/or re(a) FHCP on '/5`105

 

 

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Honorable J on McCalla
US DISTRICT COURT

